990 F.2d 1099
    In re TUCSON INDUSTRIAL PARTNERS, Debtor.TUCSON INDUSTRIAL PARTNERS, Appellant,v.SEARS SAVINGS BANK, Appellee.
    No. 91-16582.BAP No. AZ-88-1728-JVR.
    United States Court of Appeals,Ninth Circuit.
    Jan. 27, 1993.
    
      Before FLETCHER, REINHARDT, and NOONAN, Circuit Judges.
    
    ORDER
    
      1
      This case is removed from oral argument calendar scheduled for February 3, 1993.
    
    
      2
      The appeal in this case is dismissed as moot and the decision of the Bankruptcy Appellate Panel, In re Tucson Industrial Partners, 129 B.R. 614 (Bankr. 9th Cir.1991), is vacated in light of the fact that the settlement agreement was reached by the parties before the Bankruptcy Appellate Panel decision was issued.
    
    